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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

MATTHEW JOHNSON,                    §
           Petitioner,              §
                                    §      Civil Action No. 3:19-cv-02310-E
v.                                  §      *DEATH PENALTY CASE*
                                    §
BOBBY LUMPKIN,                      §
Director, Texas Department          §
of Criminal Justice,                §
Correctional Institutions Division, §
                  Respondent.       §

             RESPONDENT’S SECOND REQUEST FOR AN
               EXTENSION OF TIME TO RESPOND TO
             PETIONER’S FEDERAL HABEAS PETITION

      This is a federal habeas corpus case brought by Petitioner Matthew

Johnson pursuant to 28 U.S.C. §§ 2241 and 2254. Johnson filed his federal

habeas petition on September 11, 2020. ECF No. 21. Pursuant to this Court’s

order, the Director’s response is currently due on February 8, 2021. ECF No.

26. The Director now respectfully requests additional time to file his responsive

pleading.

      The undersigned has reviewed Johnson’s petition, but has been unable

to devote sufficient time to researching and responding to each of his claims.

As an initial matter, this is a capital federal habeas proceeding with a

voluminous state court record. Further, since the Director’s first extension

request was granted, the undersigned has been working on a response to an
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extensive state habeas application in the capital case of Ex parte Falk, WR-

18,081-04 (Tex. Crim. App.), that has a statutory deadline of March 2, 2021.

The application consists of over five hundred pages of briefing with multiple

claims and sub claims. Additionally, the undersigned is working on a motion

to recuse in the capital case Rubio v. Director, No. 1:18-CV-88 (S.D. Texas).

Due to these obligations, the undersigned respectfully requests a 60-day

extension.

      The Director assures the Court that this motion is not filed to delay these

proceedings, but to ensure that all of Johnson’s claims are properly addressed.

Counsel for Johnson are not opposed to this motion. However, Johnson’s

counsels’ non-opposition to the Director’s request does not imply that Johnson’s

counsel do not object to this Court’s decision denying their motion to extend

the date for filing an amended petition until some date after it is safe for them

to conduct the investigation necessary to comply with their obligation under

federal law and fully protect Johnson's statutory and constitutional rights. See

ECF nos. 22 and 23.

      For the foregoing reasons, the Director respectfully requests an

extension of 60 days, up to and including Friday, April 9, 2021, to file his

answer to Johnson’s petition.

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                                   Respectfully submitted,

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                                   Attorney General of Texas

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                                   First Assistant Attorney General

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                                   Deputy Attorney General
                                   for Criminal Justice

                                   EDWARD L. MARSHALL
                                   Chief, Criminal Appeals Division

                                   s/ Garrett Greene
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                                   ATTORNEYS FOR RESPONDENT

                   CERTIFICATE OF CONFERENCE
      I certify that I conferred with Johnson’s counsel, David R. Dow, about
this motion and he stated that he was unopposed to this motion.

                                   s/ Garrett Greene
                                   GARRETT GREENE
                                   Assistant Attorney General




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                       CERTIFICATE OF SERVICE
       I do hereby certify that on February 3, 2021, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Northern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
the following counsel of record, who consented in writing to accept the NEF as
service of this document by electronic means:

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